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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
V. : MAGISTRATE NO. 21-MJ-297
: GRAND JURY ORIGINAL
THOMAS F. SIBICK,
: VIOLATIONS:
Defendant. : 18U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
ALBUQUERQUE COSPER HEAD, : 18U.8.C. § 231(a)(3)
: (Civil Disorder)
Defendant. : 18U.8.C. § 111(a)Q)
:  (Assaulting, Resisting, or Impeding
KYLE J. YOUNG, : Certain Officers)
: 180U.S.C. § 2111 (Robbery)
Defendant. : 180U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(3)

(Impeding Ingress and Egress in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)()

(Act of Physical Violence in the Capitol
Grounds or Buildings)
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INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, THOMAS
F. SIBICK, ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG attempted to, and did,
corruptly obstruct, influence, and impede an official proceeding, that is, a proceeding before
Congress, by entering and remaining in the United States Capitol without authority and committing
an act of civil disorder and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ALBUQUERQUE
COSPER HEAD and KYLE J. YOUNG committed and attempted to commit an act to obstruct,
impede, and interfere with a law enforcement officers lawfully engaged in the lawful performance
of his/her official duties incident to and during the commission of a civil disorder, and the civil
disorder obstructed, delayed, and adversely affected the conduct and performance of a federally
protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG committed and attempted to
commit an act to obstruct, impede, and interfere with a law enforcement officer, that is, Officer
M.F., an officer from the Metropolitan Police Department, lawfully engaged in the lawful

performance of his/her official duties incident to and during the commission of a civil disorder,
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and the civil disorder obstructed, delayed, and adversely affected the conduct and performance of
a federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG did forcibly assault, resist, oppose,
impede, intimidate, and interfere with, an officer and employee of the United States, and of any
branch of the United States Government (including any member of the uniformed services), and
any person assisting such an officer and employee, that is, Officer M.F. an officer from the
Metropolitan Police Department while such person was engaged in and on account of the
performance of official duties, and where the acts in violation of this section involve physical
contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, KYLE J. YOUNG did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, Officer
M.M. an officer from the United States Capitol Police while such person was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))
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COUNT SIX
On or about January 6, 2021, within the special maritime and territorial jurisdiction of the
United States, THOMAS F. SIBICK, did by force and violence, and by intimidation, take and
attempt to take from the person or presence of another, that is, Officer M.F., a thing of value, that
is, a police radio and a police badge.

(Robbery, in violation of Title 18, United States Code, Section 2111)
COUNT SEVEN

On or about January 6, 2021, within the special maritime and territorial jurisdiction of
the United States, KYLE J. YOUNG, did by force and violence, and by intimidation, take and
attempt to take from the person or presence of another, that is, Officer M.F., a thing of
value, that is, Metropolitan Police Department issued service weapon.

(Robbery, in violation of Title 18, United States Code, Section 2111)
COUNT EIGHT

On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG did unlawfully and knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG did knowingly, and with intent to

impede and disrupt the orderly conduct of Government business and official functions, engage in
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disorderly and disruptive conduct in and within such proximity to, a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG did knowingly, and with intent to
impede and disrupt the orderly conduct of Government business and official functions, obstructed
and impeded ingress and egress to and from a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President and Vice President-elect were temporarily visiting.

(Impeding Ingress and Egress in a Restricted Building or Grounds, in violation of Title
18, United States Code, Section 1752(a)(3))

COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG did knowingly, engage in any act
of physical violence against any person and property in a restricted building and grounds, that is,
any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President and Vice President-elect were temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
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COUNT TWELVE
On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG willfully and knowingly
obstructed, and impeded passage through and within, the United States Capitol Grounds and any
of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

COUNT THIRTEEN
On or about January 6, 2021, within the District of Columbia, THOMAS F. SIBICK,
ALBUQUERQUE COSPER HEAD, and KYLE J. YOUNG willfully and knowingly engaged
in an act of physical violence within the United States Capitol Grounds and any of the Capitol
Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

FOREPERSON.

Cas hepa

Attorney of the United States in
and for the District of Columbia.
